Case 2:21-cv-06847-MWF-JDE Document 18 Filed 10/19/21 Page 1 of 1 Page ID #:142

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 21-6857 MWF (JDEx)                                      Date: October 19, 2021
 Title       Nataly Morales v. Art Angels Los Angeles, Inc., et al.


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge


                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                  Not Present                                        Not Present

 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE
              DEFAULT JUDGMENT

        In light of the Default By Clerk entered on October 14, 2021, the Court sets
 a hearing for Order To Show Cause Re Default Judgment for NOVEMBER 22,
 2021 at 11:30 a.m. If a Motion for Default Judgment is filed prior to this hearing,
 the hearing on the Order to Show Cause will be discharged, and no appearance will
 be necessary.

       Any Motion for Default Judgment must comply with the Court's Procedures
 and Schedules. See http://www.cacd.uscourts.gov/honorable-michael-w-fitzgerald.

         IT IS SO ORDERED.

                                                                          Initials of Preparer: RS/sjm




 CV-90 (03/15)                          Civil Minutes – General                               Page 1 of 1
